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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY


   UNITED STATES OF AI4ERICA
                                            Hon.   Stanley EL Chesler
               V.
                                           No.     1Ocr—722    (SRC)
  STEVIE BUCIcUSE                          ORDER FOR CONTINUANCE


              An indictment charging defendant STEVIE BUCKUSE with

  distribution of crack cocaine in violation of
                                                Title 21 U.S.C. S
  841(a),   having been filed on October 25,         2010;    and defendant
  having been represented by the undersigned
                                             defense counsel
  appearing before the Court on October 28,           2010 for an
  arraignment; and defendant and his counsel being
                                                   aware that a
  trial must be held within 70 days of the filing
                                                  of the indictment
  on this charge, pursuant to Title 18,          United States Code,       Section
  3161(b); and no continuances having previously been
                                                      granted by
  the Court pursuant to Title 18, United States Code,
                                                                  Section
  3161(h) (7) (A),    so that the parties could attempt to reach a plea

 agreement;    the Government and defendant hereby request a

  continuance pursuant to Title 18,        United States Code,         Section
 3161(h) (7) (A)     in order to permit the time necessary to afford the

 parties the opportunity to reach          plea agreements which would

 thereby render trial of this matter unnecessary;

              IT IS on this              day of November,       2010
             ORDERED that from the date this Order is entered,              to
 and including January 10,      2011,   shall be excluded in calculating
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                                                    be Iteld ndr the Susecy
   Act for the following reasons:



  both the United States and defendant desire
                                              additic-nal time to
  nesotiace pleas           in Court,    <hich would thereby reier trial of

  this matter unnetessary.

               2.      Pursuant to Title 18,           United States Code,      Section
  3101 (h) (7) (A),     tue ends ci justice servud by yxantcnq the

  continuance outweich the best interest of the
                                                oublic and the
  defendants in a speedy trial.

               IT IS FURTHER ORDERED THAT,              the Order for Discovery and
  Inspection        (doe-   Sb    is hereby amended as      follows

               1.      Defendant’s motions:        January lot   2011
               2.      Goverr:rer:t’ a resuonse :      January 21,    2011

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                                                            a fl at       0 Vu a   r
               4.     Trial      Date:   February 3,    2011 at 10:00 cut.
  SEEN AND AGREED:




                 Esq
     sal for Stevie Ecokuse                                           -
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                                            ThTöpBLE
                                            Unitei S-taLus lostrict Judge
